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FILED -GR
Reginald Turner September 24, 2020 11:44 AM
ichi CLERK OF COURT
1819 Michigan Street, N.E. US. DISTRICT COURT
Grand Rapids, Michigan 49503 WESTERN DISTRICT OF MICHIGAN

BY:tb SCANNED BY: 16 J/és]2o

September 10, 2020
1:20-cv-930
Paui L Maloney - U.S. District Judge
Phillip J. Green - U.S, Magistrate Judge

Clerk of the Court

United States District Court
Western District of Michigan
180 Ottawa Avenue N.W.

Grand Rapids, Michigan 49503

Re: Filing Complaint
Turner v L.A. Insurance

Dear Clerk,

Attached hereto is a copy of the plaintiff(s) Complaint o fInjuries suffered
as the result of a traffic accident is submitted into the District Court for a
judicial decision and review. Please file and docket the complaint in the Court
and forward a copy of the docket sheet to the plaintiff at the address given above.

Your coopeation in this important matter is deeply appreciated.

Thank you,

Kes

Reginald Turner et. al.,/Plaintiff(s)

”
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